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                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


 ELIJAH N. WALKER,

           Plaintiff,

 v.                                                     Case No. 1:23-cv-00745-DII

 PHOENIX LAW PC,

           Defendant.

                              AFFIDAVIT FOR ENTRY OF DEFAULT


I, Nathan C. Volheim, being duly sworn, states as follows:

      1.    I am the attorney for Plaintiff, Elijah N. Walker, in the above-captioned case.

      2. On July 12, 2023, Plaintiff served the Summons and a copy of the Complaint filed in the

           above captioned matter upon Phoenix Law PC’s registered agents Jenn Bautista, with the

           Lawyers Incorporating Service. [Dkt No. 6]

      3. A responsive pleading to the Complaint was due on August 2, 2023. No response was

           tendered within the time allowed by law, nor has the Defendant sought additional time

           within which to respond.

      4. To date, Defendant has not filed any responsive pleading to Plaintiff’s Complaint, nor has

           it sought an extension.

      5. Defendant’s deadline to file a responsive pleading to Plaintiff’s Complaint has expired.

      6. To the best of my knowledge, Defendant is not an infant, not in the military, and not an

           incompetent person.




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                           s/ Nathan C. Volheim
                           Nathan C. Volheim, Esq.
                           Counsel for Plaintiff




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